
93 N.Y.2d 997 (1999)
ROSE OCKO FOUNDATION, INC., Respondent,
v.
YECHIEL LEBOVITS et al., Appellants, and SIDNEY SCHWARTZ, Respondent.
ELIOT SPITZER, as Attorney General of the State of New York, Nonparty Respondent.
Court of Appeals of the State of New York.
Submitted May 17, 1999.
Decided July 8, 1999.
On the Court's own motion, appeal taken by Sheket Properties, Inc. and Moishe Lebovits dismissed, without costs, upon the ground that no substantial constitutional question is directly involved. Motion for leave to appeal by Sheket Properties, Inc. and Moishe Lebovits denied. Motion for leave to appeal by Yechiel Lebovits denied.
Judge ROSENBLATT taking no part.
